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                             Exhibit B
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                                                                                                                                                                                                   Privileged & Confidential
                                                                                                                                                                                                     Attorney Work Product

                                                                                                                                                                                                  In re Core Scientific Inc., et al.
Subordinated 510(b) Equity Interest Claims                                                                                                                                                             Case No. 22-90341 (CML)


                                               Claim Number to    Asserted Claim                                  Asserted Claim Amount: General
                Name of Claimant                                                      Asserted Debtor                                                                       Reason for Reclassification
                                                be Reclassified      Priority                                                Unsecured

Alexandra Seifert                                    431          General Unsecured   Core Scientific, Inc.                                    2,482 Claim references 'violation of fiduciary duty / monetary harm'
Ani Kamali                                           229          General Unsecured   Core Scientific, Inc.                                  150,000 Claim references damages 'due to false info of Core Scientific'
Ann A. Meyer                                         248          General Unsecured   Core Scientific, Inc.                                   16,044 Claim references 'mismanagement and bankruptcy of the company'

Ann A. Meyer                                         247          General Unsecured   Core Scientific, Inc.                                   15,241 Claim references 'mismanagement and bankruptcy of the company'
Bay Colony Law Center LLC                            241          General Unsecured   Core Scientific, Inc.                                  151,474 Claim references 'fradulent stock sale'
Carrington Lobban                                    54           General Unsecured   Core Scientific, Inc.                                    1,093 Claim references 'misappropriation of stock funding'
Chad Dickman                                         349          General Unsecured   Core Scientific, Inc.                                    4,045 Claim references 'mismanagement + misleading investors'
                                                                                                                                                      Claim references 'money lost securties as shareholder during class
Christopher Elliott Scott                            320          General Unsecured   Core Scientific, Inc.                                  359,512
                                                                                                                                                     action period'
                                                                                                                                                      Claim references 'I believed in what I read on this company. I feel
Cori Faerman                                         212          General Unsecured   Core Scientific, Inc.                                       81
                                                                                                                                                     betrayed'
                                                                                                                                                      Claim references 'I believed in what I read about this company. Poorly
Cori Faerman                                         211          General Unsecured   Core Scientific, Inc.                                       38
                                                                                                                                                     managed. They lied'
FLORIDA SBA TTEE                                     384          General Unsecured   Core Scientific, Inc.                                  395,715 Claim references 'class period'
Francois Emmanuel Veilleux                           555          General Unsecured   Core Scientific, Inc.                                   75,000 Claim references 'miss management of funds and assets'
Jason Walters [Jason Walters IRA]                    311          General Unsecured   Core Scientific, Inc.                                   21,193 Claim references 'lack of disclosure'
Marvin W. Meyer                                      250          General Unsecured   Core Scientific, Inc.                                   12,848 Claim references 'mismanagement'
Marvin W. Meyer                                      249          General Unsecured   Core Scientific, Inc.                                   22,118 Claim references 'mismanagement'
Michael & Elizabeth Silbergleid TRS FBO
Silverknight Group Inc 401k Plan FBO Michael         82           General Unsecured   Core Scientific, Inc.                                        27 Claim references 'fraudulent appearance on Bloomberg TV by CEO'
Silbergleid
Michael & Elizabeth Silbergleid TRS FBO
Silverknight Group Inc 401k Roth Plan FBO            81           General Unsecured   Core Scientific, Inc.                                     7,963 Claim references 'fraudulent appearance on Bloomberg TV by CEO'
Michael Silbergleid
Morgan Hoffman                                       632          General Unsecured   Core Scientific, Inc.                              188,600,000 Claim references 'violations of the securities laws'
Robert Joseph                                        351          General Unsecured   Core Scientific, Inc.                                   39,390 Claim references 'securities fraud or other unlawful business practices'
Thrasivoulos Dimitriou                               52           General Unsecured   Core Scientific, Inc.                                    3,104 Claim references 'failure to disclose material facts'
Total                                                                                                         $         1,277,368        189,877,368
